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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JANE DOES 1-7,                                 *
                                               *
        Plaintiffs,                            *
                                               *
        v.                                     *
                                               *      Civil Action No. 1:25-cv-00234 (RDM)
OFFICE OF PERSONNEL                            *
MANAGEMENT,                                    *
                                               *
        Defendant.                             *
                                               *
*       *       *      *       *       *       *      *       *       *       *       *      *

        PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

        In the middle of the briefing of Plaintiffs’ motion for a Temporary Restraining Order

(“TRO”), Defendant Office of Personnel Management (“OPM”) filed a motion to dismiss the

case under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). Notwithstanding the Court’s

denial of Plaintiffs’ TRO motion, OPM’s motion must fail for various reasons, not least of which

is the fact that the standard of review for a motion to dismiss is significantly more lenient than

that for a TRO motion, and the Court must accept all reasonable inferences in the complaint in

Plaintiffs’ favor.

        As an initial matter, this briefing has become disjointed due to OPM’s publication of

another purported Privacy Impact Assessment (“PIA”) since the Court denied Plaintiffs’ TRO

motion. See OPM, Privacy Impact Assessment for Government-Wide Email System (GWES), at 8

(Feb. 28, 2025), available at https://www.opm.gov/media/kfpozkad/gwes-pia.pdf (last accessed

Mar. 2, 2025) [hereinafter 2d PIA]. This new PIA completely reverses OPM’s position on a key

issue identified previously, removing any mention of responses to emails being sent from the

Government-Wide Email System (“GWES”) being voluntary. Compare id. (“The consequences
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for failure to provide the requested information will vary depending on the particular email at

issue.”), with OPM, Privacy Impact Assessment for Government-Wide Email System (GWES), at

7 (Feb. 5, 2025), at

https://web.archive.org/web/20250222125024/https://www.opm.gov/media/kfpozkad/gwes-

pia.pdf (last accessed Mar. 2, 2025) (“The Employee Response Data is explicitly voluntary. The

individual federal government employees can opt out simply by not responding to the email.”).

However, this new purported PIA still does not meet the standard of a legitimate PIA, and so the

Court should not be swayed by this latest attempt by OPM to move the goalposts once again.

That being said, Plaintiffs will attempt to incorporate the new purported PIA into this

Opposition, but reserve the right to request leave to file a sur-reply if OPM makes any arguments

in its reply based on changes to the published PIA, which is not currently in evidence.

        Additionally, this Opposition will be largely duplicative of Plaintiffs’ briefs regarding

their TRO motion, and they are endeavoring to avoid repeating too many arguments that the

Court has already seen multiple times before. To that end, Plaintiffs stand behind their earlier

briefs on these topics—Dkt. #15 and 18—and incorporate any relevant arguments from them

herein if they are not explicitly reiterated.

                                            ARGUMENT

        For ease of reading, Plaintiffs will address the most problematic issues with OPM’s

arguments, none of which effectively refute any of Plaintiffs’ contentions, in roughly the order in

which they are presented in OPM’s brief. 1




1
 Plaintiffs’ decision to follow the course of OPM’s brief should not be interpreted as a
concession that OPM has properly framed the issues; it is solely to assist the Court in matching
OPM’s arguments with Plaintiffs’ counterarguments.
                                                  2
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       At the outset, OPM concedes that a motion to dismiss is not the appropriate place to

dispute the factual allegations of a complaint: “Many of Plaintiffs’ factual allegations, based on a

since-deleted Reddit post, are unsubstantiated and, if this case proceeds, will be rebutted in due

course.” (Def.’s Comb. Mem. P. & A. Supp. Def.’s Mot. Dismiss & Opp’n Pls.’ Renewed Mot.

TRO, Dkt. #17-1, at 1 (filed Feb. 11, 2025) [hereinafter OPM’s Mem.] (emphasis added).) This

basic fact of civil litigation is the core reason that OPM’s motion must fail, because Plaintiffs’

First Amended Complaint easily satisfies the Twombly/Iqbal standard. 2

I.     PLAINTIFFS HAVE CLEARLY ESTABLISHED STANDING

       OPM’s first argument attacks Plaintiffs’ standing, adopting a cramped interpretation of

injury which does not comport with either the record or the prevailing opinion in the case law.

OPM argues, “Plaintiffs do not allege that any such [third-party] data breach has occurred, and

any alleged injury stemming from a hypothetical, future data breach is too speculative to

establish standing.” (OPM’s Mem. at 6.) But in a case like this in this current procedural posture,

Plaintiffs do not have to allege that a third-party data breach has occurred, since the harm is the

information being stored in an insecure system where it is more vulnerable to hacking. 3




2
 So named for the seminal cases Bell Atlantic Corporation v. Twombly, 550 U.S. 544 (2007),
and Ashcroft v. Iqbal, 556 U.S. 662 (2009).
3
 Regarding OPM’s implicit argument that the GWES and associated systems are not at risk of
cyberattack, Plaintiffs already introduced into evidence the opinion of a cybersecurity
professional that these systems are at risk. (See Pls.’ Mem. P. & A. Supp. Renewed Mot. TRO,
Dkt. #15, at 22 (filed Feb. 7, 2025) (citing Allison Gill, A Fork in the Road: Is Federal Employee
Privacy Compromised? Mueller She Wrote (Jan. 29, 2025), at
https://www.muellershewrote.com/p/a-fork-in-the-road-is-federal-employee (last accessed Feb.
4, 2025)).) This expert is willing to testify on these matters in this case. Moreover, this analysis
has been supported elsewhere. See DOGE Exposes Once-Secret Government Networks, Making
Cyber-Espionage Easier than Ever Cyber-Intelligence Brief (Feb. 9, 2025), at
https://cyberintel.substack.com/p/doge-exposes-once-secret-government (last accessed Feb. 13,
2025).
                                                  3
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       The Court already explored this argument in its opinion denying Plaintiffs’ TRO motion,

albeit in a slightly different context, concluding:

       The information that Plaintiffs have offered does not satisfy Plaintiffs’ burden of
       showing that they face a concrete and impending risk that their .gov email addresses
       will be misappropriated in the absence of emergency injunctive relief—or that their
       proposed relief would redress that risk. This is not to say that Plaintiffs will not be
       able to establish standing at a later stage of the proceeding. But they have failed to
       carry their burden for purposes of obtaining a TRO.

(Mem. Op. & Order, Dkt. #21, at 13 (filed Feb. 17, 2025) [hereinafter TRO Op.].) Just as the

Court held then that the evidence elucidated at a later stage of the proceeding would conclusively

establish whether or not the threatened harm was imminent or speculative, so should it decline to

answer the question now based on the smattering of evidence from the public record before it.

       If anything, the Court should order jurisdictional discovery to allow Plaintiffs to issue

limited written discovery requests to OPM about the security measures currently in place around

the GWES—such as Security Impact Statements, Security Assessments, Impact Assessments,

Risk Assessments, and Security Reviews, which are mandatory for new government systems

under the Federal Information Security Modernization Act of 2014, 44 U.S.C. § 3541, et seq.

and/or relevant National Institute of Standards and Technology (“NIST”) cybersecurity standards

and guidelines, including but not limited to NIST Special Publications 800-53, 800-37, and the

NIST Cybersecurity Framework—and information about attempted or actual cyberintrusions.

       Courts in this Circuit have upheld the importance of jurisdictional discovery during the

briefing stage of a motion to dismiss “to discover evidence relevant to [a plaintiff’s]

jurisdictional claim.” Citizens for Resp. & Ethics in Wash. v. Office of Admin., No. 07-964, 2008

WL 7077787, at *2 (D.D.C. Feb 11, 2008) (approving limited jurisdictional discovery in FOIA

case to reveal OA’s agency status) (citing Nat'l Resources Def. Council v. Pena, 147 F.3d 1012,

1024 (D.C. Cir. 1998), and Wilderness Soc'y v. Griles, 824 F.2d 4, 16 n.10 (D.C. Cir. 1987)).

                                                  4
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The U.S. Supreme Court has similarly recognized a federal court’s discretionary power to order

“the discovery of facts necessary to ascertain their competency to entertain the merits.”

Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). “Where issues arise as to

jurisdiction or venue, discovery is available to ascertain facts bearing on such issues.” Id. at 351

n.13. 4

          OPM’s second major standing argument, like a later argument pertaining to OPM’s legal

responsibilities, is predicated on the Court forgetting the nature of the claims and the identities of

the Plaintiffs. OPM argues that Plaintiffs lack informational standing because, “[o]ther than

speculation on social media, Plaintiffs provide no evidence that OPM took any of the actions that

would trigger the PIA requirement under section 208(b)(1)(A)(i)-(ii) of the E-Government Act.”

(OPM’s Mem. at 7.) According to OPM’s logic, if there is no PIA requirement, then Plaintiffs

cannot demonstrate informational standing when OPM does not publish a PIA. Plaintiffs agree

with this assessment of the law, but it does not help OPM, since there was a PIA requirement,

and OPM continues to disingenuously twist the record to suggest that the GWES does not

contain information that it demonstrably does.

          For this argument, OPM relies on the assertion: “The privacy protection covers ‘citizen-

centered’ information being gathered ‘from or about members of the public.’” (Id. at 8.)


4
  Courts have permitted jurisdictional discovery often in other contexts. See, e.g., Arar v.
Ashcroft, 585 F.3d 559 (2d Cir. 2009) (detainee mistreatment); DeCastro v. Sanifill, Inc., 198
F.3d 282 (1st Cir. 1999) (piercing the corporate veil); Noonan v. Winston, 135 F.3d 85 (1st Cir.
1998) (defamation); Trading Technologies Inter., Inc. v. BCG Partners, Inc., Nos. 10-C-715 et
al., 2011 WL 1220013 (N.D. Ill. Mar. 28, 2011) (patent infringement); Sledge v. United States,
723 F. Supp. 2d 87 (D.D.C. 2010) (to discover whether discretionary function exception applies
to Bureau of Prisons in an FTCA case); London-Sire Records, Inc. v. Doe 1, 542 F. Supp. 2d 153
(D. Mass. 2008) (copyright infringement); 7240 Shawnee Mission Holding, LLC v. Memon, No.
08-2207, 2008 WL 4001159 (D. Kan. Aug. 26, 2008) (breach of contract); and Vance v.
Rumsfeld, No. 06-C-6964, 2007 WL 4557812 (N.D. Ill. Dec. 21, 2007) (whistleblower
retaliation).

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According to OPM, that requirement does not apply in this case because “the PIA does not

suggest that the GWES is limited to the ‘Executive Branch.’ Instead, it refers to “federal

government employees.’ Plaintiffs provide no examples of Plaintiffs whose email domains are

other than .gov or .mil.” (Id. at 16 (citation omitted).) Practically all of OPM’s brief requires the

Court to accept this statement as accurate, when it is decidedly not.

        First, nowhere does OPM offer any legal support for the contention that federal judges or

Library of Congress employees satisfy the statutory definition of “agencies, instrumentalities, or

employees of the Federal Government” in a law specifically designed to apply to the Executive

Branch. 44 U.S.C. § 3501 note § 208(b)(1)(A). However, even if such individuals did fall within

this definition, OPM does not offer any legal support for the contention that “an employee of a

National Resources Conservation District,” “a Conservation Legacy Individual Placement

member funded by Americorps,” and “an employee of the State of California—which has a

partnership with an agency in the United States Executive Branch,” none of whom are U.S.

Government employees, (1st Am. Compl., Dkt. #14, ¶¶ 5-7 (filed Feb. 7, 2025) [hereinafter 1st

Am. Compl.]) are “agencies, instrumentalities, or employees of the Federal Government.”

Critically, even if these individuals did fall within this definition, one plaintiff is “a contractor for

the Department of State.” (Id. ¶ 8.) OPM’s argument that a contractor is a “federal government

employee” is frivolous on its face. Once the Court accepts that the GWES contains information

about contractors as well as “federal government employees”—however it chooses to define that

term—it must conclude that the GWES gathers information “from or about members of the

public,” which OPM admits triggers a PIA requirement. (OPM’s Mem. at 8 (quoting OMB

Guidance for Implementing the Privacy Provisions of the E-Government Act of 2002 §

II(b)(1)(a)).)


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II.     PLAINTIFFS HAVE STATED A CLAIM

        OPM then pivots to arguing that, even if a PIA was required to be published, its

publication of a PIA—no matter how incomplete—renders the case moot and therefore strips the

Court of jurisdiction. It similarly argues that, even if the Court has jurisdiction, Plaintiffs fail to

state a claim because Plaintiffs have no “right to challenge the substance and accuracy of the

PIA.” (Id. at 8-9.) Because these arguments are two sides of the same coin, Plaintiffs will address

them together.

        Under the E-Government Act of 2002, any agency “initiating a new collection of

information that (I) will be collected, maintained, or disseminated using information technology;

and (II) includes any information in an identifiable form permitting the physical or online

contacting of a specific individual” is required to complete a PIA before initiating such

collection. 44 U.S.C. § 3501 note § 208(b)(1)(A)(ii). The agency must:

        (i) [C]onduct a privacy impact assessment; (ii) ensure the review of the privacy
        impact assessment by the Chief Information Officer, or equivalent official, as
        determined by the head of the agency; and (iii) if practicable, after completion of
        the review under clause (ii), make the privacy impact assessment publicly available
        through the website of the agency, publication in the Federal Register, or other
        means.

Id. § 208(b)(1)(B).

        However, the statute and its implementing regulations do not allow an agency to conduct

just any PIA. A PIA must be “commensurate with the size of the information system being

assessed, the sensitivity of information that is in an identifiable form in that system, and the risk

of harm from unauthorized release of that information.” Id. § 208(b)(2)(B)(i). The Office of

Management and Budget (“OMB”) is charged with “oversee[ing] the implementation of the

privacy impact assessment process throughout the Government” and “develop[ing] policies and

guidelines for agencies on the conduct of privacy impact assessments.” Id. § 208(b)(3).

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        OMB regulations, for their part, require: “Agencies shall conduct and draft a PIA with

sufficient clarity and specificity to demonstrate that the agency fully considered privacy and

incorporated appropriate privacy protections from the earliest stages of the agency activity and

throughout the information life cycle.” OMB, OMB Circular A-130: Managing Information as a

Strategic Resource app. II at 10 (2016). OMB instructs that “PIAs must identify what choices the

agency made regarding an IT system or collection of information as a result of performing the

PIA.” OMB, M-03-22: Guidance for Implementing the Privacy Provisions of the E-Government

Act of 2002, att. A § II.C.1.b (Sept. 26, 2003), available at

https://www.justice.gov/opcl/page/file/1131721/dl?inline (last accessed Feb. 7, 2025)

[hereinafter Bolten Memo]. OMB also requires PIAs concerning “major information systems” to

“reflect more extensive analyses of:

        1. the consequences of collection and flow of information;
        2. the alternatives to collection and handling as designed;
        3. the appropriate measures to mitigate risks identified for each alternative; and
        the rationale for the final design choice or business process.

Id. § II.C.2.a.ii.

        OPM has not conducted a legally sufficient PIA for the new systems installed since 20

January for the purposes of communicating with and aggregating data about all Executive

Branch personnel. OPM has not ensured review of a legally sufficient PIA by any legitimate CIO

or equivalent official. OPM has not made such a legally sufficient PIA available to the public.

OPM’s actions therefore violate the Administrative Procedure Act (“APA”), 5 U.S.C. §

706(2)(A).

        As the Department of Justice has explained, “Privacy Impact Assessments (“PIAs”) are

required by Section 208 of the E-Government Act for all Federal government agencies that

develop or procure new information technology involving the collection, maintenance, or

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dissemination of information in identifiable form or that make substantial changes to existing

information technology that manages information in identifiable form.” DOJ Office of Privacy &

Civil Liberties, E-Government Act of 2002 (June 18, 2014), available at

https://www.justice.gov/opcl/e-government-act-2002 (last accessed Feb. 4, 2025). A PIA is “an

analysis of how information is handled: (i) to ensure handling conforms to applicable legal,

regulatory, and policy requirements regarding privacy, (ii) to determine the risks and effects of

collecting, maintaining and disseminating information in identifiable form in an electronic

information system, and (iii) to examine and evaluate protections and alternative processes for

handling information to mitigate potential privacy risks.” Bolten Memo § II(A)(f).

       The E-Government Act requires that an agency “shall take actions described under

subparagraph (B)” of Section 208 “before . . . initiating a new collection of information that—(I)

will be collected, maintained, or disseminated using information technology; and (II) includes

any information in an identifiable form permitting the physical or online contacting of a specific

individual, if identical questions have been posed to, or identical reporting requirements imposed

on, 10 or more persons, other than agencies, instrumentalities, or employees of the Federal

Government.” 44 U.S.C. § 3501 note § 208(b)(1)(A)(ii). The actions described in subparagraph

(B), which OPM must take before collecting or aggregating this information, include “(i)

conduct[ing] a privacy assessment; (ii) ensur[ing] the review of the privacy impact assessment

by the Chief Information Officer, or equivalent official, as determined by the head of the agency;

and (iii) if practicable, after completion of the review under clause (ii), mak[ing] the privacy

impact assessment publicly available through the website of the agency, publication in the

Federal Register, or other means.” 44 U.S.C. § 3501 note § 208(b)(1)(B).




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       OPM has already “initiated a new collection” of personal information, but it has not

complied with any of these requirements. The APA prohibits federal agencies from taking any

action that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law.” 5 U.S.C. § 706(2). OPM’s actions are “not in accordance with law.” The APA authorizes

this Court to “compel agency action unlawfully withheld.” 5 U.S.C. § 706(1). Such a claim may

proceed “where a plaintiff asserts that an agency failed to take a discrete agency action that it is

required to take.” Norton v. S. Utah Wildlife Alliance, 542 U.S. 55, 64 (2004). An agency’s

failure to comply with the PIA requirements of the E-Government Act is reviewable under both

provisions of APA § 706. Fanin v. Dep’t of Veterans Affairs, 572 F.3d 868, 875 (11th Cir. 2009).

       The E-Government Act defines “information technology” as “any equipment or

interconnected system . . . used in the automatic acquisition, storage, analysis, evaluation,

manipulation, management, movement, control, display, switching, interchange, transmission, or

reception of data or information by the executive agency, if the equipment is used by the

executive agency directly . . . .” 40 U.S.C. § 11101(6); see 44 U.S.C. § 3501 note, § 201

(applying definitions from 44 U.S.C. §§ 3502, 3601); 44 U.S.C. § 3502(9) (applying the

definition of 40 U.S.C. § 11101(6)). Courts have found that a “minor change” to “a system or

collection” that does not “create new privacy risks,” such as the purchasing of a new external

hard drive, would not require a PIA. Perkins v. Dep’t of Veterans Affairs, No. 07-310, 2010 WL

11614156, at *7 (N.D. Ala. Apr. 21, 2010) (quoting Bolten Memo § II.B.3.f). However, the

changes that OPM made to its existing systems were far from minor and created significant new

privacy risks.




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       There is no question that the PIA requirement applies in this case. 5 OPM’s decision to

initiate collection and aggregation of PII belonging to over two million Executive Branch

employees and countless others triggers the obligations of § 208(b)(1)(A)(ii) of the E-

Government Act. The “test” emails requesting that every employee respond by email to

HR@opm.gov and the “Fork in the Road” emails telling everyone who wished to enter the

deferred resignation program that they must send their responses by email to HR@opm.gov are

just the types of correspondence the E-Government Act contemplated. This personnel data is

precisely the type of “personal information” in “identifiable form” that the PIA provision was

intended to protect, and the response via email clearly involves the use of information

technology.

       As the court explained in Perkins, PIAs are necessary to address “(1) what information is

collected and why, (2) the agency’s intended use of the information, (3) with whom the

information would be shared, (4) what opportunities the [individuals] would have to decline to

provide information or to decline to share the information, (5) how the information would be

secured, and (6) whether a system of records is being created.” Id. See 44 U.S.C. § 3501 note §

208(b)(2)(B); Bolten Memo § II.C.1.a. These types of inquiries are “certainly appropriate and

required” when an agency “initially created” a new database system and “began collecting data.”

Id.

       The APA defines “agency” as “each authority of the Government of the United States,

whether or not it is within or subject to review by another agency,” but excludes from the



5
 To the Court’s previous question of whether a plaintiff can sue an agency under the APA for
not following OMB guidance, the violation of the law in such cases is not the violation of the
guidance per se, but the violation of the law based on the context of the guidance. See, e.g., Pub.
Citizen v. Lew, 127 F. Supp. 2d 1, 13 (D.D.C. 2000) (finding agency did not violate Federal
Records Act based on OMB guidance).
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definition eight specific types of entities not relevant to this case. 5 U.S.C. § 701(b). The E-

Government definition provided in 44 U.S.C. § 3502 is even broader than the APA definition

and includes “any executive department, military department, Government corporation,

Government controlled corporation, or other establishment in the executive branch of the

Government (including the Executive Office of the President), or any independent regulatory

agency, but does not include (A) the Government Accountability Office; (B) Federal Election

Commission; (C) the governments of the District of Columbia and of the territories and

possessions of the United States, and their various subdivisions; or (D) Government-owned

contractor-operated facilities, including laboratories engaged in national defense research and

production activities.” Under both definitions, OPM is an “agency” and was therefore required to

conduct a PIA prior to initiating the operation of these systems and the ingestion of unknown

amounts of PII by them to make it “easier” to communicate with the federal workforce.

       In short, the GWES PIA is not a legally sufficient PIA under the terms of the E-

Government Act, and Plaintiffs can sue under the APA to compel the production of a legally

sufficient PIA.

       OPM’s final two arguments do not warrant serious discussion. First, it contends that “the

publication of a PIA is not a reviewable final agency action.” (OPM’s Mem. at 10.) In doing so,

it unreasonably diminishes the statutory requirement that it create a legally mandated document

which is legally required to: (a) address certain information; (b) be formally approved by a senior

agency official; and (c) be made publicly available. Instead, OPM argues that PIAs are akin to

“agency reports, opinions, press releases, and similar publications.” (Id. at 12.) However, in

doing so, it ignores the basic fact that if an agency does not create a PIA, that is recognized as a

violation of the APA. If creating a PIA is not a final agency action, then nobody could sue an


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agency for not creating one. Since it is well-recognized that they can, this is a meritless

argument.

       Lastly, OPM argues against the use of the Declaratory Judgment Act, but in doing so it

misses the forest for the trees. To clarify, Plaintiffs agree that if every other part of the complaint

is dismissed, then the citation to the Declaratory Judgment Act does not save the case. It was

never supposed to. The Declaratory Judgment Act is cited to allow the Court to enter a

declaratory judgment if it finds that Plaintiffs have the right of it as a legal matter. The Court

should not expend any serious energy on this question.

                                          CONCLUSION

       For the foregoing reasons, OPM’s Motion to Dismiss should be denied.

Date: March 5, 2025

                                                   Respectfully submitted,

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